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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



 COMMONWEALTH OF MASSACHUSETTS                           UNDER SEAL
 ejc rei MYKEL POWELL and
 COMMONWEALTH SECOND
 AMENDMENT, INC.; and MYKEL POWELL,                     CIVIL ACTION NO.

                                Plaintiffs,            Y^' 1133(0^^vX)-3
                 -against-
                                                        COMPLAINT
 SGT. BRIAN HOLMES, in his Individual and
 Official Capacity as Sergeant of the Stoughton
 Police Department; JAMES O'CONNOR, in his
 Individual and Official Capacity as Deputy
 Chief of the Stoughton Police Department;              JURY TRIAL DEMANDED
 DONNA M. McNAMARA, in her Individual
 and Official Capacity as Chief of the Stoughton
 Police Department; and VILLAGE GUN
 SHOP, INC. d/b/a VILLAGE VAULT,

                                Defendants.



       Plaintiffs MYKEL POWELL and COMMONWEALTH SECOND AMENDMENT,

INC., as and for their Complaint against Defendants BRIAN HOLMES; JAMES O'CONNOR;

DONNA M. McNAMARA; and VILLAGE GUN SHOP, INC., allege as follows:

       1.       This case concerns the improper disposition of guns at the hands of police officials

and a gun store in a manner that violates the Due Process Clause of the Fourteenth Amendment

and the Massachusetts False Claims Act. The Defendants acted to conclusively deprive Plaintiff

Mykel Powell of his property interests in two guns and some accessories without providing him

notice or an opportunity to be heard. Furthermore, this deprivation occurred in the course of an

ongoing agreement among the Defendants to improperly sell abandoned guns for their own

benefit—instead of turning those guns over to State Police, for the benefit of the State Treasurer,
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